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 5
     Attorney for Wendy Flores-Ramirez
 6
 7                               UNITED STATES DISTRICT COURT

 8                                     DISTRICT OF NEVADA
 9
                                                    )
10                                                  )
                                                    )
     UNITED STATES OF AMERICA,                      )   CASE NO: 2:17-CR-0395-JCM-NJK
11
                Plaintiff,                          )
12                                                  )   STIPULATION AND ORDER FOR
                                                    )   MODIFICATION OF PRETRIAL
                    vs.                             )   RELEASE CONDITIONS
13                                                  )
14   WENDY FLORES-RAMIREZ,                          )
                                                    )
15                 Defendant.                       )
                                                    )
16                                                  )
                                                    )
17                                                  )

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            IT IS HEREBY STIPULATED AND AGREED, by and between BRANDON
19
     JAROCH, Assistant United States Attorney, and THOMAS A. ERICSSON, ESQ., counsel
20
     for WENDY FLORES-RAMIREZ, that the conditions of Ms. Flores-Ramirez’ pretrial
21
     release be modified pursuant to the conditions provided in this agreement.
22
            The parties agree that Ms. Flores-Ramirez’ pretrial release be modified according to
23   the following conditions:
24
            1.     Ms. Flores-Ramirez was previously ordered not to have any contact with her
25                 husband, Carlos Herrera. The parties agree that Ms. Flores-Ramirez may be
26                 permitted to have contact with and to reside with her husband at their home.

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            2.     Ms. Flores-Ramirez may be placed on Curfew with Radio Frequency (RF)
 1
                   Monitoring and removed from house arrest at the request of Pre-Trial
 2                 Supervision.

 3
     DATED: February 8, 2018.
 4
 5
     Respectfully submitted,
 6
 7   /s/ Thomas A. Ericsson                        /s/ Brandon Jaroch                  n
     THOMAS A. ERICSSON, ESQ.                     BRANDON JAROCH, ESQ.
 8
     1050 Indigo Drive, Suite 120                 501 Las Vegas Boulevard, South,
 9   Las Vegas, Nevada 89145                      Suite 1100
     Counsel for Wendy Flores-Ramirez             Las Vegas, Nevada 89101
10                                                Counsel for the United States of America
11
12                                          IT IS SO ORDERED.
13                                         ________________________________________
14                                           UNITED STATES MAGISTRATE JUDGE

15
                                            DATED this 15th day of February, 2018.
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